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ATTACHMENT A
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&

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS

)
In re: Pharmaceutical Industry Average )
Wholesale Price Litigation ) MDL No. 1456
\ C.A. No, 01-12257-PBS
}
This Document Relates to: ALL ACTIONS ) The Honorable Patti B. Saris
)

AFFIDAVIT OF
ROBERT 5S. LIBMAN

Affiant, Robert S. Libman, Jr,, after first being duly sworm, states as follows:

1. Imake this Affidavit in support of the Joint Motion of the Attorneys General of
Iimois, Kentucky, Wisconsin, and Idaho for Leave to File a Memorandum Regarding Plaintiffs’
Motion for Class Certification and to Appear at the Court's February 10, 2004 Hearing.

2. [am an Attorney at Law, duly licensed to practice by the State of California since
1988, by the District of Columbia since 1991, and by the State of Illinois since 2004. Tam also
admitted to practice before the United States Supreme Court and the United States District
Courts for the Northern District of California and the Northern District of Illinois.

3. Lam a member in good standing in every jurisdiction in which I have been admitted ta
practice. There are no disciplinary proceedings pending against me as a member of the bar of
any jurisdiction.

4, [have been appointed a Special Assistant Attorney General for the States of Illinois,
Kentucky, and Wisconsin in connection with their AWP-related litigation identified in the
proposed Joint Memorandum Regarding Plaintiffs’ Motion for Class Certification. In addition, I
have been appointed a Special Assistant Attomey General for the State of Idaho for the limited
purpose of representing the state in connection with class certification in this case.

5 [am familiar with the Local Rules of the U.S. District Court for the District of

Massachusetts.
Case 1:01-cv-12257-PBS Document 1334-2 Filed 02/08/05 Page 3 of 3

6. 1am a member of the law firm of Miner, Barnhill & Galland. My office address,

telephone number, and e-mail address are as follows:

Robert S. Libman

Miner, Barnhill & Galland, P.C.
14 W, Ene St.

Chicago, IL 60610

(312) 751-1170

(312) 751-0438 (telefax)
rlibman@lawmbg.com

FURTHER AFFIANT SAYETH NAUGHT.

Robert S. Libman

STATE OF ILLINOIS )
)
COUNTY OF COOK )

Before me, a Notary Public in and for the State of Illinois this date appeared Robert S.
Libman and acknowledged the foregoing as his voluntary act and deed. Witness my hand and
Notarial Seal this seventh day of February, 2005.

filthete 4 Mgr.

+4 + seeeeseneseoss Notary Public
; ERICIAL SEAL”
. ATRICIA TURNER ;
3 NOTARY PUBLIC, STATE OF ILLINOIS $ U [2 3/07
; MY COMMISSION EXPIRES 11.23.07 § My Commission Expires

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